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12                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                                 SAN JOSE DIVISION
14

15    UNITED STATES OF AMERICA,                         Case No. CR-18-00258-EJD-SVK

16                        Plaintiff,                    [PROPOSED] ORDER GRANTING
                                                        MOTION TO WITHDRAW
17           vs.                                        SEEMA MITTAL ROPER
18    ELIZABETH HOLMES and                              AS COUNSEL FOR DEFENDANT
      RAMISH “SUNNY” BALWANI                            ELIZABETH HOLMES
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                          Defendants.
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                                                        Hon. Edward J. Davila
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     [PROPOSED] ORDER GRANTING THE MOTION TO WITHDRAW SEEMA MITTAL ROPER AS COUNSEL FOR
     DEFENDANT ELIZABETH HOLMES
     CR-18-00258-EJD
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 1          Having considered the Motion to Withdraw Seema Mittal Roper as counsel of record for

 2   Defendant Elizabeth Holmes in this matter, the motion is hereby GRANTED.

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 4          IT IS SO ORDERED.

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 6   DATED: ______________
             July 29, 2022                 _________________________________________
                                              HONORABLE EDWARD J. DAVILA
 7                                           UNITED STATES DISTRICT COURT JUDGE
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     [PROPOSED] ORDER GRANTING THE MOTION TO WITHDRAW SEEMA MITTAL ROPER AS COUNSEL FOR
     DEFENDANT ELIZABETH HOLMES
     CR-18-00258-EJD
